      Case 4:19-cv-03074-YGR                  Document 522    Filed 01/22/25   Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                                        UNITED STATES DISTRICT COURT

 9                                     NORTHERN DISTRICT OF CALIFORNIA

10                                               OAKLAND DIVISION

11   DONALD R. CAMERON, et al.,                                  No. 4:19-cv-03074-YGR

12                                              Plaintiffs,      [PROPOSED] ORDER
                                                                 AUTHORIZING FURTHER
13
              v.                                                 SETTLEMENT DISTRIBUTIONS
14                                                               PRIOR TO DISTRIBUTION OF
     APPLE INC.                                                  UNCLAIMED FUNDS TO CY PRES
15                                                               RECIPIENT
16                                             Defendant.
17
                                                                 Hon. Yvonne Gonzales Rogers
18

19

20

21

22

23

24

25

26

27

28

     Case No.: 19-cv-03074-YGR
     Error! Unknown document property name.
      Case 4:19-cv-03074-YGR           Document 522       Filed 01/22/25     Page 2 of 2




 1          The Court, having reviewed Developer Plaintiffs’ Proposal for Further Settlement Fund

 2   Distributions Prior to Distribution to Cy Pres Recipient, and with good cause appearing, hereby

 3   ORDERS:

 4          1. The Settlement Administrator (“Angeion”) shall redistribute the unclaimed portion of the

 5              Settlement Fund ($1,332,260.66) to Settlement Class Members who redeemed their initial

 6              settlement payments.

 7          2. Checks issued in this supplemental distribution shall remain valid for 60 days, whereupon

 8              unclaimed funds will be forfeited and returned to the settlement fund.

 9          3. Within 30 days of supplemental checks becoming void, Developer Plaintiffs shall submit

10              a Supplemental Post-Distribution Accounting and proposal for any further distributions,

11              including to a cy pres recipient.

12

13          IT IS SO ORDERED.

14           January 22, 2025
     DATED: _______________

15

16                                                  HONORABLE YVONNE GONZALEZ ROGERS
                                                    UNITED STATES DISTRICT JUDGE
17

18

19

20

21

22

23

24

25

26

27

28
     [PROPOSED] ORDER AUTHORIZING FURTHER SETTLEMENT DISTRIBUTIONS - 1
     Case No.: 19-cv-03074-YGR
